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              EXHIBIT 1
Case
Case1:17-cv-01986-RJL
     1:17-cv-01986-RJL Document
                       Document16-1
                                9-1 Filed
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10/24/2017                            Tracking, TrackDocument
                       Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                   16-1 Shipments
                                                                            Filed| DHL Express Tracking
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                                                                                    English        Contact Center             Country Profile




Track DHL Express Shipments
Here’s the fastest way to check the status of your shipment. No need to call Customer Service – our online results give you real-time, detailed
progress as your shipment speeds through the DHL network.



Result Summary
        Waybill: 9043795331                           Monday, October 16, 2017 at 11:12                          1 Piece
                                                      Origin Service Area:
        Signed for by: LUSAJO                          WASHINGTON - RONALD REAGAN NATIONAL, DC -
         Get Signature Proof of Delivery               WASHINGTON - USA
                                                      Destination Service Area:
                                                       DAR ES SALAAM - DAR ES SALAAM - TANZANIA

 Monday, October 16, 2017                             Location                                    Time        Piece

 17      Delivered - Signed for by : LUSAJO           DAR ES SALAAM                               11:12             1 Piece

 16      With delivery courier                        DAR ES SALAAM - TANZANIA                    07:55             1 Piece

 Sunday, October 15, 2017                             Location                                    Time        Piece
 15      Arrived at Delivery Facility in DAR ES       DAR ES SALAAM - TANZANIA                    13:57             1 Piece
         SALAAM - TANZANIA

 Saturday, October 14, 2017                           Location                                    Time        Piece
 14      Arrived at Sort Facility DAR ES SALAAM -     DAR ES SALAAM - TANZANIA                    11:38             1 Piece
         TANZANIA
 Friday, October 13, 2017                             Location                                    Time        Piece

 13      Departed Facility in AMSTERDAM -             AMSTERDAM - NETHERLANDS, THE                09:30             1 Piece
         NETHERLANDS, THE
 12      Processed at AMSTERDAM -                     AMSTERDAM - NETHERLANDS, THE                07:38             1 Piece
         NETHERLANDS, THE
 11      Arrived at Sort Facility AMSTERDAM -         AMSTERDAM - NETHERLANDS, THE                04:21             1 Piece
         NETHERLANDS, THE

 10      Departed Facility in BRUSSELS - BELGIUM      BRUSSELS - BELGIUM                          00:53             1 Piece

 Thursday, October 12, 2017                           Location                                    Time        Piece
 9       Processed at BRUSSELS - BELGIUM              BRUSSELS - BELGIUM                          21:38             1 Piece
 8       Arrived at Sort Facility BRUSSELS -          BRUSSELS - BELGIUM                          19:34             1 Piece
         BELGIUM

 7       Departed Facility in CINCINNATI HUB - USA    CINCINNATI HUB, OH - USA                    05:10             1 Piece
 6       Processed at CINCINNATI HUB - USA            CINCINNATI HUB, OH - USA                    02:43             1 Piece

 Wednesday, October 11, 2017                          Location                                    Time        Piece
 5       Departed Facility in BALTIMORE AIRPORT -     BALTIMORE AIRPORT, MD - USA                 23:45             1 Piece
         USA

 4       Processed at BALTIMORE AIRPORT - USA         BALTIMORE AIRPORT, MD - USA                 23:42             1 Piece
 3       Departed Facility in WASHINGTON -            WASHINGTON - RONALD REAGAN                  21:38             1 Piece
         RONALD REAGAN NATIONAL - USA                 NATIONAL, DC - USA
 2       Processed at WASHINGTON - RONALD             WASHINGTON - RONALD REAGAN                  21:36             1 Piece
         REAGAN NATIONAL - USA                        NATIONAL, DC - USA

 1       Shipment picked up                           WASHINGTON - RONALD REAGAN                  12:06
                                                      NATIONAL, DC - USA




http://www.dhl.com/en/express/tracking.html?AWB=9043795331&brand=DHL                                                                            1/2
10/24/2017                           Tracking, TrackDocument
                      Case 1:17-cv-01986-RJL        Parcels, Packages,
                                                                  16-1 Shipments
                                                                           Filed| DHL Express Tracking
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If you would prefer to speak to someone personally about the location of your shipment, please contact DHL Express Customer Service.

    Terms & Conditions
    Tracking FAQs




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23 October 2017
Dear Customer,
This is a proof of delivery / statement of final status for the shipment with waybill number 9043795331.
Thank you for choosing DHL Express.
www.dhl.com


 Your shipment 9043795331 was delivered on 16 October 2017 at 11.12

 Signed                 LUSAJO                                 Destination Service Area        DAR ES SALAAM
                                                                                               TANZANIA

 Signature                                                     Shipment Status                 Delivered




                                                               Piece ID(s)                     JD014600004872317617



 Additional Shipment Details
 Service                EXPRESS WORLDWIDE doc                  Origin Service Area             WASHINGTON - RONALD
                                                                                               REAGAN NATIONAL
 Picked Up              11 October 2017 at 12.06
                                                                                               UNITED STATES OF AMERICA
                                                               Shipper Reference               23804 001
